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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AVRAM OSLICK                              :     CIVIL ACTION
                                          :     NO. 21-500
            Plaintiff,                    :
                                          :
     v.                                   :
                                          :
Loan Depot LLC, et al.                    :
                                          :
            Defendants.                   :


                                  O R D E R

            AND NOW, this 16th day of February, 2021, upon

consideration of the application to admit Aaron Wagner as

counsel pro hac vice for Defendant (ECF No. 5), it is hereby

ORDERED that the application is DENIED without prejudice. 1



            AND IT IS SO ORDERED.



                                          /s/ Eduardo C. Robreno
                                          EDUARDO C. ROBRENO, J.




1          Local Rule of Civil Procedure 83.5.2(a) requires that an
attorney seeking to be admitted pursuant to Rule 83.5.2(b) have
associate counsel of record who maintains an office within the Eastern
District of Pennsylvania. See Mowrer v. Warner Lambert Co., 1998 WL
512971, at *1 (E.D. Pa. Aug. 19, 1998); EEOC v. Coatesville Area Sch.
Dist., Civ. 00-4931 (E.D. Pa. Order-mem. Jan. 31, 2001).
